         Case 1:17-cv-00061-FYP-GMH Document 64 Filed 07/21/22 Page 1 of 1


                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

THE ESTATE OF                       *
ANDREA S. PARHAMOVICH, et al.,      *
     Plaintiffs,                    *
                                    *
     v.                             *           Case No. 1:17-CV-00061 (FYP-GMH)
                                    *
ISLAMIC REPUBLIC                    *
OF IRAN, et al.,                    *
                                    *
      Defendants.                   *
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          PLAINTIFFS’ NOTICE OF WITHDRAWAL OF RENEWED MOTION
                 FOR DEFAULT JUDGMENT AS TO LIABILITY AGAINST
                      DEFENDANT ISLAMIC REPUBLIC OF IRAN

       Plaintiffs, by and through undersigned counsel, respectfully submit this notice of withdrawal of

Plaintiffs’ Renewed Motion for Default Judgment as to Liability Against Defendant Islamic Republic of

Iran (“Iran”) filed June 10, 2022. ECF No. 60. Plaintiffs will file a streamlined Motion for Default

Judgment as to Liability Against Defendant Iran and supporting memorandum of law that incorporates

the additional evidence of Iran’s support of Al-Qaeda in Iraq/Islamic State in Iraq, as discussed with the

Court in the status conference held on July 20, 2022.



Dated: July 21, 2022                                                          Respectfully Submitted,

                                                                                 /s/ Joshua M. Ambush
                                                               Joshua M. Ambush (Bar No. MD 27025)
                                                               Law Offices of Joshua M. Ambush, LLC
                                                                        106 Old Court Road, Suite 303
                                                                           Baltimore, Maryland 21208
                                                                                Phone: (410) 484-2070
                                                                            Facsimile: (410) 484-9330
                                                                       Email: joshua@ambushlaw.com
                                                                                  Counsel for Plaintiffs
